DOCKET ENTRIES
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

470 -- IN RE SURGICAL STAPLING DEVICES PATENT, TRADEMARK AND
a ANTITRUST LITIGATION

 

 

Pleading Description

81/04/20: 1 MOTION, BRIEF, SCHEDULE, EXHIBITS A - F, CERT. OF SERV. --
Surgeons Choice, Inc. and Hosp. Products Int'l Pty. Ltd.

SUGGESTED TRANSFEREE COURT: S.D. NEW YORK

: SUGGESTED TRANSFEREE JUDGE: (cds)

| i

81/05/01 . APPEARANCES -- Joseph P. Dailey, Esq. for Hospital Products

International Pty. Ltd., Surgeons Choice, Inc., and Alan R.
Blackman; Sanford M. Litvack, Esq. for United States Surgical
Corporation. (ds)

' RESPONSE -- United States Surgical Corporation w/cert. of

81/05/05 2
SVC. (ds)

81/05/28.

' HEARING ORDER —- Setting Litigation for hearing held on
June 25, 1981, in Salt Lake City, Utah. (ds)

WAIVERS OF ORAL ARGUMENT FOR 6/25/81 HEARING, SALT LAKE CITY, UT.
Joseph P. Dailey, Esq. for Hospital Products Intl. Pty., Ltd.,
(waive}; Sanford M. Litvak, Esq. for U. S. Suxgical Corp. (Waive) .

81/06/18

81/06/23 3 LETTER REGARDING RECENT DEVELOPMENTS -- Hospital Products

International Pty. Ltd. (HPI), Surgeons Choice, Inc. and
Alan Blackman -- signed by Joseph P. Dailey -~- w/cert. of
of service (cds)

ORDER DENYING TRANSFER of litigation (A-1 thru A-3)

81/07/09
; pursuant to 28 U.S.C. §1407. (emh)

 

 
JPML Form 1
®

Revised: 8/78

DOCKET NO. 470 ~- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

CAPTION: IN RE SURGICAL STAPLING DEVICES PATENT, TRADEMARK AND ANTITRUST LITIGATION

 

 

SUMMARY OF LITIGATION
Hearing Dates Orders Trans feree
6/25/81

 

 

Dates Filed Type Citation District Name of Judge Assigned From

7/9/81 MO unpublished
(Denied)

 

 

 

 

 

Special Transferee Information

DATE CLOSED:

 
JPML FORM 1

DOCKET NO.

470 ——

LISTING OF INVOLVED ACTIONS

IN RE SURGICAL STAPLING DEVICES PATENT, TRADEMARK AND ANTITRUST LITIGATION

 

 

 

Intra-
Office
Number

Caption

District
and
Judge

Civil
Action
Number

Date

Transfer

Docket
Number

TransfereaDate of

Dismissal
or Remand

 

 

United States Surgical Corp. v.
Bryan Gregory Associates, Inc.,
al.

United States Surgical Corp. v.
Hospital Products International
Pty. Ltd., et al.

Hospital Products International Pty.
Ltd., et al. v. United States

Surgical Corp.

S.D.Tex.
iO 'Conor

D.Conn.
Daly

S.D.N.Y.
Conner

 

 

81-325

81 Civ 748

 

 

 

 

 
 

JPML Form 4

ATTORNEY SERVICE LIST
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 470 -- In re Surgical Stapling Devices Patent,

Antitrust Litigation

Trademark and

 

 

UNLTED STATES SURGICABR CORP. ({(A-l, A-2)
Sanford M. Litvack, Esquire
Donovan, Leisure, Newton &
Irvine
30 Rockefeller Plaza
New York, New York 10112

HOSPITAL PRODUCTS INTL. PTY.LTD. (A-3)
SURGEONS CHOICE, INC

ALAN R. BLACKMAN

Joseph P. Dailey, Esquire

Breed, Abbott & Morgan

153 East 53rd Street

New York, New York 10022

 

BRYAN GREGORY ASSOCIATES, INC.
BRYAN GREGORY

PRODUCTS FOR SURGERY, INC.
HARVEY A. LAWHON

THOMAS J. MADSEN

(No Appearance Received)
Scott, Douglas & Keeton

4400 First International Plaza
Houston, Texas 77002

 

 
JPML FORM 3

De 1

COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET No. 470 -- IN RE SURGICAL STAPLING DEVICES PATENT, TRADEMARK AND
ANTITRUST LITIGATION

Name of Par Named as Par in Following Actions

 

 

Bryan Gregory Associates,
Inc.
\%

Bryan Gregory

Products for Surgery, Inc.
=

Harvey A. Lawhon

Thomas J. Madsen
x

Surgeons Choice, Inc.,

a Delaware Corp. =

Surgeons Choice, Inc.,
tate of incorporation
/anknown

Hospital Products Int'l

fo Ltd,

flan R. Blackman

United States Surgical
Corp.

 
